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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


JOSEPH MICHAEL ARPAIO,

                       Plaintiff,

               v.

JEFF ZUCKER, CHRIS CUOMO, CABLE NEWS                              Civil Action No.
NETWORK, INC., KEVIN ROBILLARD,                                   1:18-cv-02894-RCL
HUFFINGTON POST, TESSA STUART, and
ROLLING STONE,

                       Defendants.




               RESPONSE TO PLAINTIFF’S “NOTICE OF BENCH BRIEF”

       Plaintiff’s “Notice of Bench Brief” is unauthorized by the rules, adds nothing to the

arguments already made in prior briefing and at oral argument, and should be disregarded.

       In any event, Plaintiff fundamentally mischaracterizes the seminal holding of New York

Times v. Sullivan by quoting this passage from the Court’s opinion out of context: “[g]ood motives

and belief in truth do not [even] negate an inference of malice, but are relevant only in mitigation

of punitive damages if the jury chooses to accord them weight.” New York Times v. Sullivan, 376

U.S. 254, 267 (1964). That was not the Court’s holding, but rather its summary of Alabama law,

which the Court went on to hold was unconstitutional because it did not provide adequate

protection for free speech. Id.

       Plaintiff further ignores what this Court explained in Lohrenz v. Donnelly, 223 F. Supp. 2d

25, 45 (D.D.C. 2002), aff’d, 350 F.3d 1272 (D.C. Cir. 2003): a defendant’s “‘motive in publishing

a story . . . cannot provide a sufficient basis for finding actual malice.’” Id. at 45 (quoting Harte-

Hanks Comm., Inc. v. Connaughton, 491 U.S. 657, 665 (1989)). Nor is “a media defendant’s
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‘adversarial stance’ . . . ‘indicative of actual malice.’” Id. at 46 (quoting Liberty Lobby, Inc. v.

Rees, 852 F.2d 595, 601 (D.C. Cir. 1988)).

       Plaintiff also continues to ignore the numerous cases applying Ashcroft v. Iqbal, 556 U.S.

662 (2008), to dismiss complaints for failure to adequately plead actual malice. And Plaintiff still

disregards the authority holding that a prompt correction “‘is significant and tends to negate any

inference of actual malice.’” Logan v. District of Columbia, 447 F. Supp. 1328, 1332 (D.D.C.

1978) (quoting Hoffman v. Washington Post Co., 433 F. Supp. 600, 605 (D.D.C. 1977), aff’d, 578

F.2d 442 (D.C. Cir. 1978)).

       For all of the reasons explained in Defendants’ briefs and at oral argument, Plaintiff’s

Complaint should be dismissed with prejudice.



Dated: July 26, 2019                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2019, a copy of this Response to Plaintiff’s “Bench Brief”

was filed via the Court’s electronic filing system, and served via that system upon all parties

required to be served.


Dated: July 26, 2019                                By: /s/ Nicholas G. Gamse
                                                           Nicholas G. Gamse




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